             Case 3:18-cv-05139-BHS-DWC Document 79 Filed 09/28/18 Page 1 of 5



 1                                                          THE HONORABLE BENJAMIN SETTLE
                                                           THE HONORABLE DAVID W. CHRISTEL
 2
 3
 4
 5
 6
                            UNITED STATES DISTRICT COURT
 7                    WESTERN DISTRICT OF WASHINGTON AT TACOMA
 8
 9      JESUS CHAVEZ FLORES,                                      Case No.: 3:18-cv-05139-BHS-DWC

10                                                                THE GEO GROUP, INC.'S, MOTION
                                           Plaintiff,
11                                                                TO SEAL AND SUBSTITUTE
        v.
12
                                                                  NOTED FOR: OCTOBER 12, 2018
13      UNITED STATES IMMIGRATION AND
        CUSTOMS ENFORCEMENT; THOMAS D.
14
        HOMAN, Deputy Director and Senior Official
15      Performing the Duties of the Director of the U.S.
        Immigration an Customs Enforcement; MARC J.
16
        MOORE, Director of the Seattle Field Office of
17      U.S. Customs Enforcement; BRYAN WILCOX,
        Deputy Director of the Seattle Field Office of U.S.
18
        Immigration and Customs Enforcement;
19      WILLIAM PENALOZA, Assitant Field Office
20      Director, Detention, Seattle Field Office of U.S.
        Immigration and Customs Enforcement; DREW
21      BOSTOCK, Assistant Field Office Director,
22      Seattle Field Office of U.S. Immigration and
        Customs Enforcement; ICE DOES 1-10; THE
23      GEO GROUP, INC., a Florida corporation;
24      LOWELL CLARK, Warden, Northwest Detention
        Center;     WILLIAM MCHATTON, Associate
25      Warden, Northwest Detention Center; MICHAEL
26      BEARDSLEY, Officer, Northwest Detention
        Center; LEROY PORTILLO, Captain, Northwest
27      Detention Center; GEO DOES 1-10,
28
                                           Defendants
29
30                                                                                  III BRANCHES LAW, PLLC
                                                                                            Joan K. Mell
     THE GEO GROUP, INC.'S MOTION TO SEAL AND SUBSTITUTE                             1019 Regents Blvd. Ste. 204
31   3:18-cv-05139-BHS-DWC                             1! of 5!                          Fircrest, WA 98466
                                                                                          253-566-2510 ph
              Case 3:18-cv-05139-BHS-DWC Document 79 Filed 09/28/18 Page 2 of 5



 1              The GEO Group, Inc., Lowell Clark, William McHatton, Michael Beardsley, Leroy
 2
     Portillo, and GEO Does 1-10 ("GEO") move under LCR 5(g)(1)(A) to seal Dkt. 24, DVD
 3
     video of Incident and the associated still shots at Exhibit E to Dkt. 25 of the Amended
 4
 5   Declaration of Joan K. Mell. GEO further requests leave to substitute the still shots at Exhibit
 6
     E with still shots with redactions. 1 This motion comes before the Court because ICE expressed
 7
     its concern that the unredacted still shots and video may depict individually identifiable
 8
 9   detainees and correction officers. This motion is also based upon the proposed protective order
10   wherein the parties agreed to treat video as confidential to the extent the video depicts
11
     individually identifiable persons.
12
13              LCR 5(g)(1)(A) requires GEO to confer with opposing counsel to determine whether

14   they consent or oppose this motion. GEO conferred with counsel for both parties.2 ICE agrees
15
     to and requested the relief. 3 Plaintiff opposes on waiver grounds.4 GEO defers to ICE.
16
17             LCR 5(g) requires the moving party to show "the legitimate private or public interests

18   that warrant [filing under seal]; the injury that will result if the relief sought is not granted; and
19
     why a less restrictive alternative to the relief sought is not sufficient."5 The parties have agreed
20
21   to treat video as confidential to the extent that individual identities are ascertainable.6 The

22   presenting concern is that the existing filings may sufficiently depict individually identifiable
23
     persons whose privacy interests may be impaired. The least restrictive method to correct such
24
25
26
     1 09/28/18 Mell Dec. Ex. A (Redacted Photos).
27   2 09/28/18 Mell Dec.
     3 Id.
28   4 Id.

     5 LCR 5(g)(B).
29
     6 Dkt. 78 at 3.
30                                                                                        III BRANCHES LAW, PLLC
                                                                                                  Joan K. Mell
         THE GEO GROUP, INC.'S MOTION TO SEAL AND SUBSTITUTE                               1019 Regents Blvd. Ste. 204
31       3:18-cv-05139-BHS-DWC                             2! of 5!                            Fircrest, WA 98466
                                                                                                253-566-2510 ph
           Case 3:18-cv-05139-BHS-DWC Document 79 Filed 09/28/18 Page 3 of 5



 1   concern is to seal the DVD with the video, and replace the still shots with redactions of
 2
     individual faces.
 3
                                                  CONCLUSION
 4
 5           For the reasons stated above, GEO's motion to seal and substitute should be granted.
 6
             DATED this 28th day of September, 2018 at Fircrest, WA.
 7
 8
             ______________________________
 9           Joan K. Mell, WSBA No. 21319
             Attorney for The GEO Group, Inc.
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30                                                                                  III BRANCHES LAW, PLLC
                                                                                            Joan K. Mell
      THE GEO GROUP, INC.'S MOTION TO SEAL AND SUBSTITUTE                            1019 Regents Blvd. Ste. 204
31    3:18-cv-05139-BHS-DWC                             3! of 5!                         Fircrest, WA 98466
                                                                                          253-566-2510 ph
           Case 3:18-cv-05139-BHS-DWC Document 79 Filed 09/28/18 Page 4 of 5



 1                                   CERTIFICATE OF SERVICE
 2          I, Joseph Fonseca, hereby certify as follows:
 3
            I am over the age of 18, a resident of Pierce County, and not a party to the above action.
 4
     On September 28, 2018, I electronically filed the above GEO Defendants' Motion to Seal, with
 5
 6   the Clerk of the Court using the CM/ECF system and served via the CM/ECF E-Service system

 7   and E-Mail to the following:
 8   Emily Chiang, WSBA No. 50517
 9   Eunice Hyunhye Cho, GA Bar No. 632669
     Antoinette M. Davis, WSBA No. 29821
10   American Civil Liberties Union of Washington Foundation
11   901 Fifth Avenue, Suite 630
     Seattle, WA 98164
12   (206)-624-2184
13   echiang@aclu-wa.org
     echo@aclu-wa.org
14   tdavis@aclu-wa.org
15
     McNaul, Ebel, Nawrot & Helgren, PLLC
16
     Daniel M. Weiskopf, WSBA No. 44941
17   Theresa DeMonte, WSBA No. 43994
     600 Univeristy Street, Suite 2700
18
     Seattle, WA 98101
19   dweiskopf@mcnaul.com
     tdemonte@mcnaul.com
20
21   Sarah K. Morehead, WSBA No. 29680
     Assistant United States Attorney
22
     United States Attorney's Office
23   700 Stewart Street, Suite 5220
     Seattle, WA 98101
24
     (206)-553-7970
25   sarah.morehead@usdol.gov
26
     ///
27
28   ///

29
30                                                                                    III BRANCHES LAW, PLLC
                                                                                              Joan K. Mell
      THE GEO GROUP, INC.'S MOTION TO SEAL AND SUBSTITUTE                              1019 Regents Blvd. Ste. 204
31    3:18-cv-05139-BHS-DWC                             4! of 5!                           Fircrest, WA 98466
                                                                                            253-566-2510 ph
           Case 3:18-cv-05139-BHS-DWC Document 79 Filed 09/28/18 Page 5 of 5



 1          I certify under penalty of perjury under the laws of the State of Washington that the above
 2
     information is true and correct.
 3
            DATED this 28th day of September, 2018 at Fircrest, Washington.
 4
 5
 6                  Joseph Fonseca, Paralegal
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
29
30                                                                                   III BRANCHES LAW, PLLC
                                                                                             Joan K. Mell
      THE GEO GROUP, INC.'S MOTION TO SEAL AND SUBSTITUTE                             1019 Regents Blvd. Ste. 204
31    3:18-cv-05139-BHS-DWC                             5! of 5!                          Fircrest, WA 98466
                                                                                           253-566-2510 ph
